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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

    In re:
                                                                  Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                          Case No. 23-10961 (BLS)

                                                                  (Jointly Administered)
              Debtors.
                                                                  Related Docket No. 33

NOTICE OF FILING REVISED PROPOSED ORDER (A) APPROVING THE SALE OF
 ASSETS FREE AND CLEAR OF ALL CLAIMS, LIENS, RIGHTS, INTERESTS, AND
  ENCUMBRANCES, (B) AUTHORIZING THE DEBTORS TO PERFORM THEIR
      OBLIGATIONS UNDER THE PURCHASE AGREEMENT AND OTHER
      TRANSACTION DOCUMENTS, (C) AUTHORIZING AND APPROVING
       THE ASSUMPTION AND ASSIGNMENT OF CERTAIN EXECUTORY
       CONTRACTS AND UNEXPIRED LEASES RELATED THERETO, AND
    (D) GRANTING RELATED RELIEF AND GLOBAL BLACK-LINE OF SAME

             PLEASE TAKE NOTICE that, on July 24, 2023, the above-captioned debtors and debtors

in possession (collectively, the “Debtors”) filed the Motion for Entry of an Order (I) Approving

Bidding Procedures for the Sale of Assets, (II) Scheduling Hearings and Objection Deadlines with

Respect to the Debtors’ Authority to Sell, (III) Scheduling Bid Deadlines and an Auction, (IV)

Approving the Form and Manner of Notice Thereof, (V) Approving Contract Assumption and

Assignment Procedures, and (VI) Granting Related Relief [Docket No. 33] (the “Motion”) with

the United States Bankruptcy Court for the District of Delaware (the “Court”). A proposed form

of order was attached to the Motion as Exhibit D (the “Proposed Order”).



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             The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
             number, include: Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC
             (2666), Williams Industrial Services, LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty
             Services, LLC (9578), WISG Electrical, LLC (6918), Construction & Maintenance Professionals, LLC
             (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177), GPEG LLC (5707), Global
             Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N. 3510),
             and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service
             address is: 200 Ashford Center N, Suite 425, Atlanta, GA 30338.




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         PLEASE TAKE FURTHER NOTICE that, a hearing regarding the Motion has been

scheduled before the Honorable Brendan L. Shannon, United States Bankruptcy Court Judge, at

the United States Bankruptcy Court, on September 7, 2023, at 2:00 p.m. (ET).

         PLEASE TAKE FURTHER NOTICE that the Debtors received informal comments (the

“Informal Comments”) from the United States Trustee, the Environmental Protection Agency and

the Official Committee of Unsecured Creditors. In response to those comments, the Debtors have

made revisions to the Proposed Order and such revised proposed order is attached hereto as

Exhibit A (the “Revised Order”). For the convenience of the Court and all parties in interest, a

blackline of the Revised Order against the Proposed Order is attached hereto as Exhibit B.




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 Dated: September 7, 2023           CHIPMAN BROWN CICERO & COLE, LLP
 Wilmington, Delaware

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